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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
BRANDON and SHELBY ROLLER,                CIVIL ACTION NO.:
            Plaintiffs,                   1:20-CV-00140-AW-GRJ
      v.                                  JURY TRIAL DEMANDED
JOSEPH HYCHE and DIEBOLD
NIXDORF, INC.
            Defendants.

                 DEFENDANT DIEBOLD NIXDORF, INC.’S
                 CORPORATE DISCLOSURE STATEMENT

       Defendant, Diebold Nixdorf, Inc., by and through its undersigned counsel,

and pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local Rules

of Civil Procedure for United States District Court for the District of Florida,

submits this Corporate Disclosure Statement, stating as follows:

      Diebold Nixdorf, Inc. is not a subsidiary or affiliate of a publicly owned

corporation and no publicly held corporation owns 10% or more of its stock.

                                      Respectfully submitted,

                                      /s/Jon J. Hernan

                                      Jon J. Hernan
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                                      Inc.
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

served via email on this 15th day of June, 2020 to the following:

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                                       Respectfully submitted,

                                       /s/ Jon J. Hernan

                                       Jon J. Hernan
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